Case 2:05-cr-20281-.]TF Document 18 Filed 09/02/05 Page 1 of 2 PagelD 19

lN THE UN|TED STATES D|STR|CT COURT 'F"'ED BY JLL/_. D.C.
FOR THE WESTERN DISTR|CT OF TENNESSEE

 

WEsTERN DivisioN 95 SEP -2 PH 5= 25
uNiTED sTATEs oF AMERicA G£$§)l,{,§ c7:*QO};:DCOUHr
Plaintiff is
Vs.
cR. No. 05-20281-0
RicKY HueHEs
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a

report date of Thursday, October 27, 2005l at 9:00 a.m., in Courtroom 3. 9th Floor of

the Federal Building, lV|emphis, TN.

 

The period from August 25, 2005 through November 18, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

lT lS SO ORDERED this Z, l day of September, 2005.

 

[l `_»_ _ .. .. `.\~,-\rterednr~ +_| ar!~w-l ,n§

 

with lime … `L,_-; - =.,¢;_ _ `

     
 

  

UNITED S`TTES DISTRIC COUR - WESTRE D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20281 Was distributed by faX, mail, or direct printing on
September 9, 2005 to the parties listed.

 

 

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

